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 4

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 7

 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,             )             Case No. 1:12-CR-00038 AWI DLB
                                           )
11                     Plaintiff,          )             ORDER RELIEVING COUNSEL
                                           )
12   v.                                    )
                                           )
13   JOSEPH EDWIN GABLE,                   )
                                           )
14                     Defendant.          )
     _____________________________________ )
15

16            The matter of the Motion To Be Relieved As Counsel came on regularly for hearing on June

17   13, 2012 at 1:30 p.m. before Honorable Gary Austin with all parties present.

18            Following a brief hearing and obtaining Defendant, JOSEPH EDWIN GABLE’s lack of

19   objection thereto;

20            IT IS ORDERED that Dale A. Blickenstaff is relieved as counsel for the Defendant, JOSEPH

21   EDWIN GABLE in the above entitled matter.

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25            IT IS SO ORDERED.

26            Dated:      June 20, 2012                    /s/ Gary S. Austin
     6i0kij                                           UNITED STATES MAGISTRATE JUDGE
27

28
     ORDER RELIEVING COUNSEL
     Case No. 1:12-CR-00038 AWI DLB                                                              Page 1
